EXHIBIT F
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                                                                                                                                                                                                                                           May 18, 2021
                     VIA EMAIL AND CERTIFIED MAIL, RRR

                     Gregory W. Jackson, Esq.
                     Executive Vice President and Chief Legal Officer
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                     North Mankato, MN 56003
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                                           Re:                  Limited Partnership Agreement dated as of September 28, 1994 regarding the
                                                                Minnesota Timberwolves Basketball Limited Partnership, as amended / Equity
                                                                Interest Purchase Agreement, dated as of May 13, 2021 by and among Purple Buyer
                                                                Holdings LLC, Minnesota Timberwolves Basketball Limited Partnership, and the
                                                                “Seller Parties,” including Taylor Sports Group, Inc. as “Seller Representative”

                     Dear Mr. Jackson:

                            We write to respond to Glen Taylor’s May 17, 2021 letter to Meyer Orbach of Orbit Sports
                     LLC (“Orbit”), by which Mr. Taylor enclosed a copy of the Equity Interest Purchase Agreement
                     dated as of May 13, 2021 (“EIPA”) by and among Purple Buyer Holdings LLC, as “Buyer,” the
                     Minnesota Timberwolves Basketball Limited Partnership, and the Taylor Sports Group, Inc.,
                     Taylor Corporation and Glen Taylor, as the “Seller Parties.” We also write to follow up on our
                     May 17, 2021 letter, which we transmitted to you shortly before Mr. Taylor forwarded his letter
                     to Mr. Orbach. (Except as otherwise specified below, capitalized terms herein shall have the same
                     meaning as set forth in our prior letter, the EIPA and/or the Partnership Agreement, as context
                     requires.)

                            As explained below, despite providing a copy of the EIPA, the Taylor Parties are
                     continuing to repudiate their obligations under the Partnership Agreement. Therefore, Orbit
                     hereby renews its demand that the Taylor Parties rescind their repudiation of their obligations
                     within twenty-four (24) hours. In particular, Orbit demands that the Taylor Parties commit, in
                     writing, to: (1) issue a Sale Notice to all Limited Partners by no later than May 23, 2021, as
                     Section 10.7(b) of the Partnership Agreement requires; (2) use commercially reasonable efforts to
                     obtain Buyer’s agreement to Orbit’s participation in the Proposed Transaction at the Closing (as
                     defined in the EIPA), as Section 7(d)(i) requires; and (3) in the event that Buyer does not agree to
                     Orbit’s participation, purchase Orbit’s Partnership Interests at the Closing, as Section 7(d)(iii)


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        requires. If the Taylor Parties do not rescind their repudiation within 24 hours as set forth above,
        Orbit will seek appropriate relief in a Designated Court, including claims for declaratory,
        injunctive and monetary relief, in accordance with Section 17.10 of the Partnership Agreement.

        A.       The Partnership Agreement Guarantees Orbit Essential “Tag-Along Rights.”

                The Disclosure Schedule to the EIPA confirms that Orbit is the largest non-Taylor Party
        limited partner under the Partnership Agreement. Specifically, Orbit holds 17.315489% of the
        limited partnership interests in the Timberwolves. See EIPA, Disclosure Schedule, § 3.3. Orbit’s
        significant stake in the Timberwolves is no accident: The Taylor Parties solicited Orbit’s
        investment at a time when they sorely required a capital infusion.

               Before it made its initial investment in 2016, Orbit required that the Partnership Agreement
        be amended to guarantee Orbit and all other limited partners certain rights, known as “Tag-Along
        Rights,” in the event of a Change in Control (as defined in the Agreement). (See Partnership
        Agreement, § 10.7.) The Tag-Along Rights were a precondition to Orbit’s decision to join the
        Partnership, under the stewardship of the Taylor Parties, and to infuse it with much-needed capital.
        In short, the Tag-Along Rights were a significant factor in Orbit’s decision to invest in the
        Timberwolves in the first place.

                Under Section 10.7 of the Partnership Agreement, if and when the Taylor Parties might
        propose to enter into a “Control Sale” (as defined in the Agreement), all limited partners have the
        right to participate and sell their own interests in the Partnership. See Partnership Agreement,
        Section 10.7(a) (“[I]n the event that one or more members of the Taylor Group . . . proposes to
        enter into a Control Sale. . ., then each Limited Partner (the ‘Tag-Along Partners’) shall have the
        right (the ‘Tag-Along Right’), to elect to participate in such Tag-Along Sale . . . ”) (emphasis
        added). Once those Tag-Along Rights are triggered, the Selling Partner – i.e., the Taylor Parties
        in connection with the Proposed Transaction – is required to take various actions for the benefit of
        other partners, including Orbit. The Selling Partner, among other things:

                 (1)     Must give notice of the sale to all limited partners;

                 (2)     Must use commercially reasonable efforts to obtain the agreement of the
                         Prospective Purchaser to allow the participation of limited partners who wish to
                         participate;

                 (3)     Must purchase, at the negotiated price, the interests of any limited partner whose
                         interests are not purchased by the Prospective Purchaser; and

                 (4)     May not proceed with the sale if all limited partners who wish to participate are not
                         allowed to participate at the negotiated price.

               Specifically, Section 10.7(b) states that in the event of a Control Sale, the Taylor Parties
        must provide the limited partners (the “Tag-Along Partners”) a “Sale Notice” within ten days of
        entering into a definitive agreement. See Partnership Agreement § 10.7(b).

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        B.       The Proposed Transaction is a “Control Sale.”

                As we explained in yesterday’s letter, Section 1.7A of the Partnership Agreement defines
        a “Change in Control” that triggers Tag-Along Rights to include a “Control Sale.” See Partnership
        Agreement § 1.7A. Section 1.9C of the Partnership Agreement, in turn, defines “Control Sale” as
        “a sale, exchange or other disposition (for cash or property with a discernible cash value) by one
        or more members of the Taylor Group, in a single transaction or series of related transactions, to
        any Person who is not a member of the Taylor Group, of Partnership Interests which includes a
        majority of all the General Partnership Interests (including the indirect sale, exchange or other
        disposition of such Partnership Interests through the sale, exchange or other disposition (for cash
        or property with a discernible cash value) of interests in any entity that owns, directly or indirectly,
        such Partnership Interests).” Id. at § 1.9C (emphasis added).

                 The Proposed Transaction indisputably constitutes a Control Sale. The Taylor Parties are
        proposing to sell or otherwise dispose of their Partnership Interests in one or more transactions
        involving a majority of all General Partnership Interests. In that regard, it bears emphasis that
        Section 1.9 of the Partnership Agreement encompasses an “exchange or other disposition” – even
        if not a “sale.” See Partnership Agreement § 1.9 (emphasis added).

                Simply put, under Section 1.9, a “Control Sale” does not necessarily need to involve a
        “sale”; an “exchange or other disposition” qualifies, too. Any construction of Section 1.9 of the
        Partnership Agreement that would require only a full-vested conveyance (a “sale”) to constitute a
        Control Sale” would nullify the language used by the parties regarding an “exchange or other
        disposition,” which in turn would violate basic principles of Minnesota contract law. See
        Chergosky v. Crosstown Bell, Inc., 463 N.W.2d 522, 526 (Minn. 1990) (“Because of the
        presumption that the parties intended the language used to have effect,” courts “attempt to avoid
        an interpretation of the contract that would render a provision meaningless.”)

               The Taylor Parties’ own public statements underscore the reality that the Proposed
        Transaction constitutes a Control Sale. For instance, on May 14, 2021, the Taylor Parties and/or
        the Timberwolves issued a public statement “regarding the sale and future ownership of the
        Minnesota Timberwolves and Lynx,” which provided in relevant part as follows:

                 “Glen Taylor has reached an agreement with Marc Lore and Alex Rodriguez
                 regarding the sale and future ownership of the Timberwolves and Lynx. The
                 transaction will close following league approval, beginning the transition of
                 ownership and a new chapter of Minnesota Timberwolves and Lynx basketball.”

        (Emphasis added.)

               The public statement was consistent with Glen Taylor’s own description of the Proposed
        Transaction in an April 12, 2021 email to the limited partners: “I am sure by now you have seen
        the news regarding the exclusive letter of intent I signed over the weekend with Alex Rodriguez
        and Marc Lore to purchase the Timberwolves and Lynx franchises. As the reports indicate, this

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        agreement is for a 30 day window to negotiate and come to terms on final details. This agreement
        is structured for me to continue as the controlling partner for 2.5 years, after which Alex and Marc
        will take full ownership.” (Emphasis added.)

                 These statements make clear that the intention of both parties to the Proposed Transaction
        is to sell control of the Timberwolves, together with their related assets, through the consummation
        of the Proposed Transaction.

                The provisions of the EIPA further demonstrate that the Proposed Transaction is a Control
        Sale. Section 2.1 of the EIPA, for instance, demonstrates that the acquisition of the “Closing
        Units” is one of a series of transactions – all set forth in painstaking detail in a single document –
        that will result in a transfer of control to the Buyer. In fact, the “Call Options” set forth in Section
        2.1(b) all will be “[e]ffective as of the Closing and after giving effect to the purchase of the Closing
        Units by the Buyer.” EIPA, § 2.1(b) (emphasis added). Specifically, at Closing, “each of the Seller
        Parties will grant to the Buyer a series of Call Options (as defined in Article VI) to acquire all of
        the remaining Taylor Units held by the Seller Parties on the terms and conditions set forth
        [t]herein.” Id. (emphasis added). In other words, the EIPA sets forth a “series of related
        transactions to [Buyer], of Partnership Interests which includes a majority of all the General
        Partnership Interests (including the indirect sale, exchange or other disposition of such Partnership
        Interests through the sale, exchange or other disposition (for cash or property with a discernible
        cash value) of interests in any entity that owns, directly or indirectly, such Partnership Interests).”
        See Partnership Agreement § 1.9C. That “series of related transactions, moreover, will be
        “effective” as of day one. See EIPA, § 2.1(b).

                 By virtue of the grant of the Call Options, the Taylor Parties have provided the Buyer with
        a clear path to control, and under the EIPA, the Taylor Parties have no means to prevent or
        otherwise avoid the sale of all of the General Partnership interests to the Buyer. The parties’
        mutual expectation that a change of control will occur is evidenced by their joint announcement
        of the transaction and is reinforced by the EIPA, which includes a defined term for “Contemplated
        Transactions” that includes the various tranches in addition to the sale at the initial closing. Thus,
        the Taylor Parties and the Buyer expressly contemplate more than a single transfer of limited
        partnership interests through the EIPA. The initial sale and subsequent tranches are set forth in a
        single, integrated agreement that includes direct and specific ties between transaction steps. There
        can be no conclusion but that these transactions are related and that, when taken together, the
        tranches constitute a series of transactions.

                Furthermore, Section 9.7 and Exhibit I to the EIPA – artfully entitled “Certain Operating
        and Governance Matters” – sets forth the details of the change of control from the Taylor Parties
        to the Buyer. These sort of “governance matters” were never contemplated – much less, granted
        – when any prior non-Taylor investment was made in the Timberwolves, including Orbit’s
        substantial investment.

               For instance, the EIPA names Messrs. Lore and Rodriguez as Alternate Governors, thus
        vesting in them meaningful interim authority and providing further evidence of the parties’
        ultimate intentions. See EIPA, § 9.7 and Exhibit I thereto (“With respect to the period between the

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        Closing Date and the Transition Date, the General Partner will appoint Alex Rodriguez and Marc
        Lore as Alternate Governors”). As you well know, the designation of “Governor” has significant
        meaning with the National Basketball Association. So far as Orbit is aware, at no time prior to the
        EIPA have the Taylor Parties ever proposed to designate any new investors in the Timberwolves
        as “Alternative Governors.” The EIPA also proposes to restrict amendments to the drag- or tag-
        along rights in a manner that would be adverse to the ability of Messrs. Lore and Rodrguez to
        obtain control, to address HSR requirements part of the second tranche closing, and even includes
        the list of perquisites and other rights that the Taylor Parties will have once Messrs. Lore and
        Rodriguez assume control of the Timberwolves. Id.

                 In yet another “first” for the Timberwolves, the EIPA provides that “[t]he Company will
        establish an advisory board (the ‘Advisory Board’) selected by the limited partners of the
        Company” – but that each of the Taylor Parties “agrees to vote their respective limited partnership
        interests in favor of two (2) representatives designated by [the Buyer].” See EIPA, § 9.7 and
        Exhibit I thereto (emphasis added). The EIPA further provides that “[b]etween the Closing Date
        and the Transition Date, the General Partner will present to the Advisory Board for discussion
        before causing the Company or any of its subsidiaries to take any of the [various enumerated]
        actions with respect to the Company or the Team.” Id. (emphasis added). In other words,
        immediately upon the Closing, the Buyer will become part of an “Advisory Board” and the General
        Partner will not cause the Company to take a series of actions without first presenting such actions
        to the “Advisory Board.” Id. Again, no such “Advisory Board” ever was implemented during any
        of the many prior investments in the Timberwolves (including Orbit’s substantial investment) – so
        it is particularly telling that the Taylor Parties have bargained with the Buyer to do so now.

                Furthermore, the EIPA sets forth a procedure by which “the Buyer, or its Affiliate, becomes
        the General Partner.” See EIPA, § 9.7 and Exhibit I thereto (emphasis added). Specifically, the
        EPIA defines “Controlling Owner” as “the individual designated by the General Partner of the
        Company in accordance with NBA Rules consisting of: (a) Glen A. Taylor (or any successor
        designee by Taylor Sports Group, Inc.); or (b) Marc Lore or Alex Rodriguez as designated by
        Buyer. Id. (emphasis added). “General Partner,” in turn, is defined to include “Buyer with respect
        to any period between the Call Option Closing of the Second Tranche and the date on which the
        last of Taylor Sports Group, Inc., Taylor Corporation and Glen A.Taylor (Taylor’) own Units of
        Company (‘Exit Date’)”). Id. (emphasis added). Thus, the EIPA provides for an “Exit Date” for
        the Taylor Parties, following which they will cede any remaining control to the Buyer. At that
        point, the Buyer, as “Controlling Owner,” “will have exclusive power and authority to act for and
        bind the Company . . . with respect to all matters relating to the NBA and the basketball and
        business operations of the Company and its subsidiaries (including with respect to Core NBA
        Matters, as defined in the NBA Ownership Transfer Policies).” Id. (emphasis added).

                In light of the above, the EIPA confirms that the Taylor Parties are proposing to enter into
        a Control Sale within the meaning of Section 1.9 of the Partnership Agreement. The EIPA
        specifies a series of transactions which will result in the Buyer: (i) succeeding the Taylor Parties
        as the General Partner; (ii) becoming the “Controlling Owner”; and (ii) being vested with
        “exclusive power and authority to act for and bind the Company.” See EIPA, § 9.7 and Exhibit I


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        thereto. Greater “control” can hardly be imagined than the “exclusive power and authority” that
        will be vested in the Buyer through the series of transactions set forth in the EIPA.

                The bottom line is this: The Taylor Parties indisputably are proposing to enter into a
        Control Sale under the Partnership Agreement. To quote the Partnership Agreement, the Proposed
        Transaction constitutes “a sale, exchange or other disposition . . . in a . . . series of transactions . .
        . of Partnership Interests which includes a majority of all the General Partnership Interests.” See
        Fleetboston Robertson Stephens, Inc. v. Innovex, Inc., 172 F. Supp. 2d 1190 , 1192 (D. Minn.
        2001) (granting plaintiff’s motion for summary judgment where the operative agreement entitled
        plaintiff to a “Transaction Fee” upon a “transaction (or series of related transactions) resulting in
        the sale of 50% or more of the company's voting stock or assets to another party).

        C.       The Taylor Parties Are Continuing to Repudiate their Tag-Along Obligations under
                 Section 10.7 of the Partnership Agreement By Falsely Asserting that Those
                 Obligations Have Not Been Triggered.

                As noted, under Section 10.7 of the Partnership Agreement, if and when the Taylor Parties
        propose to enter into a “Control Sale” (as defined in the Agreement), all limited partners have the
        right to elect to participate and sell their own interests in the Partnership. See Partnership
        Agreement, § 10.7(a). Therefore, the Taylor Parties’ Tag-Along obligations arise when a Control
        Sale is “proposed” – not merely if or when closing under such a Control Sale occurs, or when
        “control” might actually be conveyed to a third party. Indeed, the Partnership Agreement provides
        that when a Control Sale is proposed, “then” – not at some future date – “each Limited Partner
        (the ‘Tag-Along Partners’) shall have the right (the ‘Tag-Along Right’), to elect to participate in
        such Tag-Along Sale . . . .” Id. (emphasis added).

                In light of the above, the Taylor Parties’ Tag-Along obligations under Section 10.7 of the
        Partnership Agreement are triggered immediately upon any “proposal” by them to enter into a
        Control Sale, whether or not closing of such a Control Sale is scheduled to occur – and whether or
        not “control” might actually vest – two days, two months or even two years later. To reiterate, the
        triggering event under Section 10.7 is when the Taylor Parties “propose” to enter into a Control
        Sale – not when the Taylor Parties might elect to close or actually transfer “control.”

                The EIPA clearly confirms that the Taylor Parties have proposed to enter into a Control
        Sale, thereby immediately triggering the Limited Partners’ Tag-Along Rights under Section 10.7
        of the Partnership Agreement. Although the Taylor Parties have now provided the EIPA to Orbit,
        they continue to refuse to acknowledge their ongoing Tag-Along obligations under Section 10.7.
        Instead, Mr. Taylor’s letter plainly demonstrates that the Taylor Parties continue to repudiate their
        Tag-Along obligations.

                In his letter, Mr. Taylor wrongly asserts that there is no Control Sale unless and until Buyer
        exercises and consummates its “Second Tranche option,” which may not occur until December
        31, 2023 (although it can occur at any time following Closing under the EIPA). Specifically, Mr.
        Taylor asserts that “the “Second Tranche is the only option including any general partnership
        interests so a ‘Control Sale’ for purposes of the MTBLP Partnership Agreement would not arise

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        unless and until the Second Tranche Option is exercised and consummated.” (Emphasis added).
        In doing so, Mr. Taylor suggests that the Taylor Parties do not currently have any Tag-Along
        obligations. Mr. Taylor further suggests that the Taylor Parties might be required to provide a
        Sale Notice under Section 10.7(b) only when “the Second Tranche Option is exercised and
        consummated” – not now. The Taylor Parties’ assertions, however, flout the plain language of the
        Partnership and the EIPA.

                Mr. Taylor suggests that the Taylor Parties “only” are conveying control through a series
        of “options,” not a “sale” of control immediately upon closing under the EIPA. Section 1.9 of the
        Partnership Agreement, however, encompasses an “exchange or other disposition” of the Taylor
        Parties’ interests through a “series of related transactions” – even if one or more or those “related
        transactions” may not be deemed a “sale.” Therefore, the series of related transactions described
        in the EIPA indisputably constitute a “Control Sale” within the meaning of Section 1.9C. Put
        another way, a “Control Sale” will have occurred immediately upon closing of the EIPA – and not
        merely when the “Second Tranche option” is exercised, as the Taylor Parties wrongly claim.

                In any event, as explained above, the Taylor Parties’ Tag-Along obligations are triggered
        when the Taylor Parties propose to enter into a “Control Sale.” They clearly have done so by
        executing the EIPA. Therefore, even though the Taylor Parties are wrong in their assertion that a
        “Control Sale” will not occur until the “Second Tranche option” is exercised, the Taylor Parties’
        assertion misses the mark entirely. By executing the EIPA, the Taylor Parties are “proposing” to
        enter into a “Control Sale” regardless of when it might actually occur. Therefore, the Taylor
        Parties’ Tag-Along obligations have been triggered already.

        D.       The Taylor Parties’ Violation of Orbit’s Tag-Along Rights Violates Both the
                 Partnership Agreement and The Taylor Parties’ Representations and Warranties
                 Under the EIPA.

                 Not surprisingly, the Buyer has required the Company to represent and warrant, in the
        EIPA, that the EIPA and Contemplated Transactions “do not and will not violate or conflict with
        [the Partnership Agreement].” (EIPA § 3.5(a).) Similarly, the Taylor Parties represent and
        warrant to the Buyer that “[t]he execution and delivery of this Agreement, and the consummation
        of the Contemplated Transactions, will not conflict with or result in any violation of or default
        under (or any event that, with notice or lapse of time or both, would constitute a default under) . .
        . (i) the Organizational Documents of Seller if it is not a natural person; [or] (ii) any Contract to
        which such Seller Party is a party or by which such Seller Party or any of his/her/its assets may be
        bound.” (EIPA § 4.2(a).) In fact, these and other representations and warranties by the Taylor
        Parties are knowingly and willfully false.

               As explained above, the plain terms of the EIPA demonstrate that the Taylor Parties have
        proposed to enter into a Control Sale, such that all Limited Partners have active Tag-Along rights.
        The Taylor Parties cannot avoid their Tag-Along obligations by structuring the disposition of
        Partnership Interests in “tranches” or scheduling the transfer of General Partnership Interests for
        2023. Here is all that matters, and what cannot be denied: The Taylor Parties have proposed to


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        enter into a sale or other disposition, in a series of related transactions, of Partnership Interests,
        including all of the General Partnership Interests. See Partnership Agreement, § 1.9C.

                Tag-Along Rights do not arise only when the General Partners transfers a majority of its
        General Partnership Interests. Tag-Along Rights are triggered whenever the Taylor Parties
        propose to sell or otherwise dispose of any of their Partnership Interests, so long as the proposed
        disposition includes a majority of General Partnership Interests. That is precisely the case here.
        Tellingly, the EIPA’s Seller Parties comprise not just the Taylor Corporation and Mr. Taylor (who
        own only the Limited Partnership Interests), but also Taylor Sports Group, Inc., which owns only
        General Partnership Interests and in fact is the Seller Parties’ Representatives.

                Section 10.7(b) entitles Orbit to exercise its Tag-Along Rights today, before closing on any
        part of the transaction. As Orbit expressly negotiated when it agreed to join and provide the
        Partnership with much-needed capital, Section 10.7 safeguards Orbit from undue risk arising from
        a deal structure in which it had no say.

        E.       The Taylor Parties Have Breached Their Obligations to Orbit.

                Under Minnesota law, an anticipatory breach occurs when a party expressly repudiates the
        contract, giving notice that he will not perform the contract before performance is due. See Space
        Ctr., Inc. v. 451 Corp., 298 N.W.2d 443, 450 (Minn. 1980). Repudiation is “either by words or
        acts, which is communicated to the other party prior to the time fixed by the contract for his
        performance.” In re Haugen, 278 N.W.2d 75, 79 n. 6 (Minn. 1979). That is exactly what the
        Taylor Parties have done here. By wrongfully insisting that a Control Sale will not occur until the
        “Second Tranche option” is exercised, the Taylor Parties continue to repudiate their Tag-Along
        obligations under Section 10.7(b) of the Partnership Agreement and, accordingly, have breached
        and/or anticipatorily breached the Partnership Agreement.

                 It appears that the Proposed Transaction has been structured in an effort to circumvent the
        Tag-Along Provisions of Section 10.7 of the Partnership Agreement. Orbit anticipated precisely
        this tactic when it negotiated for the Tag-Along Rights to apply to a “series of related transactions,”
        and not just a “single transaction.” Section 10.7 protects against a deal structure that subjects
        Limited Partners to indeterminate credit risk and may impair value over time, whether due simply
        to the passage of time, due to the impact of purchase price adjustments, additional debt obligations,
        changes in tax law, or otherwise. The agreed-upon definition of Control Sale ensures that Tag-
        Along Partners can exit in full, rather than be forced to assume such risks.

               The Taylor Parties’ actions in seeking to vitiate Orbit’s Tag-Along Rights demonstrate a
        shocking lack of good faith. “Under Minnesota law, every contract includes an implied covenant
        of good faith and fair dealing requiring that one party not unjustifiably hinder the other party's
        performance of the contract.” In re Hennepin Cty. 1986 Recycling Bond Litig., 540 N.W.2d 494,
        502 (Minn. 1995) (quotation omitted). Contrary to their obligations under Minnesota law, the
        Taylor Parties are, in fact, unjustifiably hindering Orbit’s ability to exercise its Tag-Along Rights
        under Section 10.7 of the Partnership Agreement. In doing so, the Taylor Parties are undermining
        the very purpose of Section 10.7, and they are depriving Orbit of essential contractual rights that

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        were specifically bargained for when the Taylor Parties sought Orbit’s investment in the
        Timberwolves in the first place. The Tag-Along Rights were included in the Partnership
        Agreement to prevent the very sort of shenanigans that are now taking place. The Taylor Parties,
        however, are willfully attempting to circumvent the provisions of the Partnership Agreement in a
        calculated but futile scheme to vitiate Orbit’s Tag-Along Rights. In these and other ways, the
        Taylor Parties have breached their obligations to Orbit.

        F.       Orbit Hereby Reiterates Its Tag-Along Notice and, If Necessary, Will Seek
                 Appropriate Legal Redress Without Further Notice.

                 In light of the above, Orbit hereby reiterates its Tag-Along Notice dated May 14, 2021 and,
        since it now has been provided with the EIPA, Orbit reiterates its election to sell all of its
        Partnership Interests, pursuant to the Tag-Along Rights contained in the Partnership Agreement,
        based on the Enterprise Value set forth in the EIPA. So that the record is abundantly clear, this
        letter shall constitute a further Tag-Along Notice on Orbit’s behalf for purposes of Section 10.7(c).

                The Partnership Agreement prohibits the Taylor Parties from transferring “any of its
        Partnership Interests” – including the “Closing Units” under the EIPA – unless and until all
        Limited Partners have exercised their Tag-Along Rights under Section 10.7. See Partnership
        Agreement, §§ 10.1, 10.7(d)(iii). In short, the Taylor Parties may not close and consummate any
        part of the Contemplated Transactions – including the initial part scheduled for 2021 – without
        first honoring Orbit’s Tag-Along Rights in full.

                Orbit therefore renews its demand that the Taylor Parties rescind their repudiation of their
        obligations under the Partnership Agreement within twenty-four (24) hours. Specifically, Orbit
        demands that the Taylor Parties commit, in writing, to: (1) issue a Sale Notice to all Limited
        Partners no later than May 23, 2021, as Section 10.7(b) of the Partnership Agreement requires; (2)
        use commercially reasonable efforts to obtain Buyer’s agreement to Orbit’s participation in the
        Contemplated Transactions at the Closing (as defined in the EIPA), as Section 7(d)(i) requires;
        and (3) in the event that Buyer does not agree to Orbit’s participation, purchase Orbit’s Partnership
        Interests at the Closing, as Section 7(d)(iii) requires. If the Taylor Parties fail to timely do so,
        Orbit will pursue appropriate claims and remedies under the Partnership Agreement and applicable
        law, including claims for declaratory, injunctive and monetary relief, without further notice.

                In light of such claims against the Taylor Parties, please be reminded that under governing
        law, the Taylor Parties are required to take all appropriate measures to preserve and safeguard
        evidence, including electronically stored information, relating to this matter. The duty to preserve
        potentially relevant evidence is triggered when litigation is reasonably anticipated, which could
        occur before litigation is filed. We urge you to immediately inform all of the Taylor Parties’
        employees, agents or other representatives that they, too, must refrain from deleting or destroying
        any documents, data and other information that might be relevant to this matter, regardless of any
        pre-existing document retention policy. If the Taylor Parties fail to comply with their obligations
        in this regard, Orbit reserves its right to seek appropriate additional relief, together with other
        appropriate remedies or sanctions.


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        Gregory W. Jackson, Esq.
        May 18, 2021
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               Nothing contained herein shall be construed to: (i) waive, limit, prejudice or otherwise
        adversely affect any right, remedy or power at law, in equity or otherwise held by Orbit, all of
        which rights, remedies and powers are hereby expressly reserved; or (ii) waive any other claims,
        causes of action and/or breaches by the Taylor Parties of their duties owed to Orbit.

                                                           Very truly yours,
                                                           /s/ Michael M. Krauss
                                                           Michael M. Krauss
        cc:      Orbit Sports LLC
                 Paul H. Schafhauser

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